                          tsammore county Circuit Court 4/25/20231 :40 PM System System
                    1:-t-1Lt::U
                                                                         E-FILED; Baltimore County Circuit Court
                  Case     COURT FOR BALTIMO~~:t7~2023
                       1:23-cv-01842-JKB
                  CIRCUIT                  Document 1-1 Filed 07/10/23           Page 1 of 13 4125/2023 1 :40 PM
                                                                         1 !iffjrpilJif~~'b-~l~ion:
                  MARYLAND
                   401 Bosley Avenue, P.O. Box 6754                                                    EXHIBIT A
                   Towson, MD 21285-6754


            To:    NICHOLAS WOLFERMAN
                   700 EAST JOPPA ROAD
                   TOWSON, MD 21286

                                                                  Case Number:                             C-03-CV-23-001712
                                                    Other Refe1-ence Number(s):
                                            Child Support Enforcement Number:

NA'IM ANDERSON VS. BALTIMORE COUNTY, MARYLAND, ET AL.
                                                                                                           Issue Date: 4/25/2023
                                                 WRIT OF SUMMONS

      You are hereby summoned to file a written response by pleading or motion, within 30 days after service of this
summons upon you, in this court, to the attached complaint filed by:

        NA'JM ANDERSON
        2413 Guilford Avenue
        Baltimore, MD 21218

        This summons is effective for service only if served within 60 days after the date it is issued.


                                                         ~e,       /_
                                                       Julie L. Ensor
                                                                      ·f~StvL-
                                                        Clerk of the Circuit Court


To the person summoned:
    Failure to file a response within the time allowed may result in a judgment by default or the granting of the relief
sought against you.
    Personal attendance in court on the day named is NOT required.

Instructions for Service:
    L This summons is effective for service only if served within 60 days after the date issued. If it is not served within
       the 60 days, the plaintiff must send a written request to have it renewed.
    2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
       If service is not made, please state the reasons.
    3. Return of served or unserved process shall be made promptly and in accordance with Maryland Rule 2-126.
    4. Ifthls notice is served by private process, process server shall file a separate affidavit as required by Maryland
       Rule 2-I26(a).




CC-CV-032 (Rev. 11/23/2020)                            Page 1 of2                                           04/25/2023 1 :37 PM



                                                                                                             PAGE 1
                                                                       E-FILED; Baltimore County Circuit Coun
            Case 1:23-cv-01842-JKB Document Docket: 4/25/202312:35
                                            1-1 Filed   07/10/23 PM;
                                                                   Page 2 of 13 4/25/202312:35 PM
                                                                      Submission:

                                                                                    EXHIBIT A
NA'IM MTIERSON                                  IN THE CIRCUIT COURT
2413 Guilford Ave.
Baltimore, MD 21218
                                                OF MARYLAND
                V.

Baltimore County, Maryland                      FOR BALTIMORE COUNTY
Serve on: John A. Olszewski, Jr., County
Executive                                       CASE NO.: TBA
400 Washington Ave, Mailstop 2MOIA
Towson, Maryland 21204
                                                       C-03-CV-23-001712
and
Office of the State's Attorney for Baltimore
County
Serve on: Scott D. Shellenberger, State's
Attorney
County Courts Building, Room 511
401 Bosley Ave., Towson, MD 21204

and
State of Maryland
80 Calvert Street, Room I 09
Annapolis, Maryland 21401

and
Nicholas Wolfennan
700 East Joppa Road
Towson, Maryland 21286

and
Chad A Sholter
700 East Joppa Road
Towson, Maryland 21286




                                               COMPLAINT

         Now comes Plaintiff, Na'Im Anderson, by and through his attorneys, Latoya Francis-

 Williams, A. Dwight Pettit, Esq., and the Law Office of A. Dwight Pettit, P.A., and sue Defendants

 Baltimore County, Maryland; State of Maryland; Detectives Nicholas Wolferman and Chad Sholter;

 for reasons stated as follows:

                                                   1




                                                                                       PAGE 2
                 Case 1:23-cv-01842-JKB Document 1-1 Filed 07/10/23 Page 3 of 13

                                                                                                 EXHIBIT A
     this case exercised control over and influenced the policies, practices, and customs of the police

     department, as well as the training, supervision, control, and discipline of the named police officers

     and all other sworn members of the Baltimore County Police Department.

5.   That at all times relevant hereto, Defendant State of Maryland is liable both via respondeat superior

     liability for the Constitutional Violations to Anderson by and through its co-defendant --the Office

     of the State's Attorney for Baltimore County; and, via its own negligent failure to vet National

     Medical Services (NMS) labs before contracting with said lab to analyze suspected CDS in

     Maryland criminal cases; causing Mr. Anderson harm, financially, emotionally and physically with

     the maintenance of criminal CDS charges against Mr. Anderson. Assistant State's Attorneys

     associated with the relevant criminal case were at all times acting within the scope of their

     employment.

6.   At all relevant times, the State of Maryland contracted with National Medical Services (NMS) labs

     to outsource CDS testing in Maryland criminal cases without first confirming said entity was

     qualified to undertake the job.


                                          JURISDICTION AND VENUE

7.   Jurisdiction is proper in this Court as the amount in controversy exceeds $30,000 pursuant to §4-

     401 (1) of the Maryland Code Annotated, Courts & Judicial Proceedings Article and Plaintiffs demand

     a jury ttial pursuant to §4-402(e)(l) of Maryland Code Annotated, Courts & Judicial Proceedings Article.

     Jurisdiction is also proper in the United States District Court under 42 USC. § 1331 and 42 U.S.C. § 1983, §

     1985, and §1988.

8.   Venue is proper in the Circuit Court for Baltimore County pursuant to §6-201(a) of the Maryland

     Code Annotated, Courts & Judicial Proceedings Article, as all Defendants work for Baltimore County,

     and the complained of events occurred in Baltimore County, Maryland. Venue is also proper in the

     U.S. District Court for the District Court of :Maryland (Northern District) under 28 U.S.C., § 1391 in
                                                           3




                                                                                                     PAGE 3
                  Case 1:23-cv-01842-JKB Document 1-1 Filed 07/10/23 Page 4 of 13

                                                                                                EXHIBIT A
17.   Mr. Anderson did not get into said vehicle with any unlawful substances nor did Mr. Anderson have

      access to or knowledge of any illicit or unlawful substance in said vehicle.

18.   At all relevant times, particularly prior to his charging Mr. Anderson with possession of marijuana,

      Detective Wolferman and Detective Sholter knew the Baltimore County Police Department did not

      have the ability to establish, pursuant to the relevant threshold standards for a criminal prosecution,

      that a substance was in fact marijuana.

19.   "Marijuana" at all relevant times is defined as (i) all parts of any plant of the genus Cannabis,

      whether or not the plant is growing; (ii) the seeds of the plant; (iii) the resin extracted from the

      plant; and (iv) each compound, manufactured product, salt, derivative, mixture, or preparation of the

      plant, its seeds, or its resin.

20.   "Marijuana" does not include: (i) the mature stalks of the plant; (ii) fiber produced from the mature

      stalks; (iii) oil or cake made from the seeds of the plant; (iv) except for resin, any other compound,

      manufactured product, salt, derivative, mixture, or preparation of the mature stalks, fiber, oil, or

      cake; (v) the sterilized seed of the plant that is incapable of germination; or (vi) hemp as defined in§

      14-101 of the Agriculture Article.

21.   "Hemp" means the plant Cannabis sativa L. and any part of that plant, including all derivatives,

      extracts, cannabinoids, isomers, acids, salts, and salts of isomers, whether growing or not, with a

      delta-9-tetrahydrocannabinol (also known as «me") concentration that does not exceed 0.3% on a

      dry weight basis.

22.   "Hemp" does not include any plant or part of a plant intended for a use that is regulated under Title

      13, Subtitle 33 of the Health - General Article.

23.   Nevertheless, Mr. Anderson was criminally charged with possession of marijuana by Defendant

      Detective Wolferman and Detective Sholter.

24.   Detective Wolferman misrepresented under oath in a Statement of Probable Cause that he had

                                                            5



                                                                                                    PAGE 4
                 Case 1:23-cv-01842-JKB Document 1-1 Filed 07/10/23 Page 5 of 13

                                                                                              EXHIBIT A
      Services (NMS) labs had been ceased; and, that no date of potential resuming of outsourcing to

      NMS was known as the Maryland State Police did not known when the lab would complete the

      required task of certifying their chemists under Maryland Law.

32.   At all relevant times NMS Labs was the only lab the Office of the State's Attorney for Baltimore

      County and the Baltimore County Police Department utilized to analyze the THC concentration in

      suspected marijuana.

33.   Nevertheless, at no time did the Office of the State's Attorney for Baltimore County disclose this

      exculpatory information to defense counsel on Mr. Anderson's criminal case; and went so far as to

      misrepresent to the Circuit Court for Baltimore County that it had the capability to determine

      whether a plant-like substance was in fact marijuana as defined under Maryland law.

34.   On 8/9/2021 despite knowing that no chemist at National Medical Services (NMS), the Pennsylvania

      lab outsourced to by Maryland State Police under a 2019 contract with the State of Maryland to

      perform analysis on seized suspected Marijuana, had obtained Maryland Department of Health

      certifications as required, and that NMS labs did not known when obtaining certifications for their

      chemists would be completed; and, despite being informed that all outsourcing of seized suspected

      marijuana to NMS labs had been ceased, and no date of resuming of outsourcing was known,

      Detective Wolferman and other members of the Baltimore County Police Department along with the

      Office of the State's Attorney for Baltimore County lied to      a grand jury in   representing that Mr.

      Anderson possessed marijuana, resulting in an indictment containing possession of Marijuana related

      charges.

35.   On 1/18/2022 the Office of the state's Attorney for Baltimore County was advised in writing by

      NMS Labs that no determination can be made as to whether or not the sample submitted to them is

      marijuana; and, that additional testing would be required to make this determination, if and only if

      NMS labs client support is contacted with said request.

                                                         7



                                                                                                  PAGE 5
                 Case 1:23-cv-01842-JKB Document 1-1 Filed 07/10/23 Page 6 of 13

                                                                                               EXHIBIT A
41.   Prior to their abuse to Mr. Anderson, Baltimore County Police Department, Detectives Wolferman

      and C. Sholter, and the·Office of the State's Attorney for Baltimore County were all aware that they

      did not have the capability or ability to establish any plant-like substance was in fact marijuana as

      defined under Maryland Law as neither the Baltimore County Police Department crime lab nor the

      Maryland State Police had the equipment nor supplies needed for quantifying the THC

      concentration in any suspected plant-like substance.

42.   Detectives Wolferman and Sholter were not qualified chemists and too did not have the capability,

      did not have the equipment and did not have the supplies for quantifying the level of THC

      concentration, if any, in any plant-like substance associated with Mr. Anderson's case.

43.   Prior to their abuse to Mr. Anderson the State's Attorney's Office of Baltimore County, the

      Baltimore County Police Department and all Law enforcement agencies in the State of Mary land

      received a written memoranda from the Maryland State Police warning that the external lab used for

      determining quantitation of THC in plant-like materials for criminal prosecution purposes, NMS

      labs, did not employ chemists qualified to test nor permit introduction of test results in a Maryland

      court of the quantitation of THC in any plant-like substance.

44.   Prior to their abuse to Mr. Anderson the Maryland State Police knew that no NMS chemist was

      Maryland-certified to introduce test results of CDS analysis without testimony from the chemist, nor

      was any chemist qualified under Maryland law to conduct said tests.

45.   Prior to Defendants lies to a grand jury, and continued malicious prosecution of Mr. Anderson, the

      Maryland State Police on 8/5/2021, issued a public statement acknowledging that certification under

      Md. Code Ann., Cts & Jud. Proc., sec. 10-1001, is required in order to introduce the results of CDS

      analysis without the testimony from the chemist; and that NMS had NO certified chemists to meet

      this criterion pursuant to the Maryland Department of Health.

46.   Prior to the abuse to Mr. Anderson and prior to awarding its contract to NMS labs neither the

                                                           9



                                                                                                   PAGE 6
                   Case 1:23-cv-01842-JKB Document 1-1 Filed 07/10/23 Page 7 of 13

                                                                                                 EXHIBIT A
53.   At no time did any defendant observe Mr. Anderson commit a misdemeanor; nor did any defendant

      have personal knowledge of a felony committed or associated with Mr. Anderson prior to his arrest

      or any time thereafter.

                   WHEREFORE, Plaintiff Na'Im Anderson, claims in excess of seventy-five thousand

            dollars ($75,000.00) in compensatory damages and in excess of seventy-five thousand dollars

            ($75,000.00) in punitive damages from Defendants Baltimore County, Maryland, The State of

            Maryland, the Office of the State's Attorney for Baltimore County, Detective Nicholas Wolferman

            and Detective Chad Sholter, jointly and severally, and for such other and further relief to which

            Plaintiff may be entitled.

                                         COlJNT II- MALICIOUS PROSECUTION

      54.           The Plaintiff, Mr. Anderson, incorporates as if fully stated herein the allegations contained

      in all paragraphs.

      55.       Defendant Officers and the Office of the State's Attorney for Baltimore County started and

                continued a criminal prosecution against Plaintiff Mr. Anderson by alleging offenses that

                said Defendant Officers knew in advance to be false.


      56.          Defendant Officers did so without probable cause necessary to give rise to said charges or

      the criminal proceedings Anderson was subjected to.

      57.          Defendant Officers with the assistance of the Office of the State's Attorney for Baltimore

      County charged Plaintiff, Mr. Anderson, with numerous charges as previously detailed in the Facts

      Common to All Counts section of this Complaint out of malice, evil motive and ill will; and, not to

      bring Mr. Anderson to justice for allegedly committing the actual criminal offences charged.

      58.           The criminal proceeding against Mr. Anderson forced him to retain legal defense counsel

      at great expense prior to the proceedings terminated in his favor; with a disposition of nolle prosequi

      on 1/23/2023 and 1/24/2023.
                                                             11



                                                                                                     PAGE 7
                 Case 1:23-cv-01842-JKB Document 1-1 Filed 07/10/23 Page 8 of 13

                                                                                                EXHIBIT A
         and Detective Chad Sholter, jointly and severally, and for such other and further relief to which

         Plaintiff may be entitled.


                    COUNT IV - VIOLATION OF ARTICLE 24 AND ARTICLE 26 OF THE
                      MARYLAND DECLARATION OF RIGHTS; FABRICATION OF
                                           EVIDENCE

63.   The Plaintiff, Mr. Anderson, incorporates as if fully stated herein the allegations contained in all

      paragraphs.

64.   Article 24 provides that no man ought to be taken or imprisoned or disseized of his freehold,

      liberties or privileges, or outlawed, or exiled, or, in any manner, destroyed, or deprived of his life,

      liberty or property, but by the judgment of his peers, or by the Law of the land; Article 26 provides

      that all warrants, without oath or affirmation, to search suspected places, or to seize any person or

      property, are grievous and oppressive; and all general warrants to search suspected places, or to

      apprehend suspected persons, without naming or describing the place, or in the person in special, are

      illegal, and ought not to be granted.

65.   At no time relevant herein were any laws violated by Mr. Anderson, in or outside the presence of

      any defendants.

66.   At all relevant times, all defendant officers were employees of the County of Baltimore as sworn

      members of the Baltimore County Police Department, whose actions were committed within the

      scope of their employment and for the benefit of the County of Baltimore.

67.   At all relevant times attorneys within the Office of the State's Attorney for Baltimore County were

      State employees whose actions were committed within the scope of their employment and for the

      benefit of the State, including actions that deprived Mr. Anderson of his Constitutional rights.

68.   At all times described herein, Defendants acted under color and pretense of law, and under color of

      statutes, customs and usages of the State of Maryland and while intentionally abusing Mr.


                                                           13


                                                                                                    PAGE 8
                 Case 1:23-cv-01842-JKB Document 1-1 Filed 07/10/23 Page 9 of 13

                                                                                               EXHIBIT A
      knowing Baltimore County Police Department nor the Maryland State Police had the equipment or

      capabilities to determine whether a plant-like substances was marijuana or even unlawful to possess

      as defined under the Criminal Law Article and the Agricultural Article of the Maryland Code.

73.   Defendants' acts were the actual and proximate cause of damages sustained by Plaintiff Anderson.

74.   Anderson will continue to suffer severe emotional anguish, loss of reputation, loss of income, fear,

      fright, anxiety, nervousness and other physical injuries and damages that naturally flow from

      Defendants' conduct.

         WHEREFORE, Plaintiff Na'Im Anderson, claims in excess of seventy-five thousand dollars

         ($75,000.00) in compensatory damages and in excess of seventy-five thousand dollars

         ($75,000.00) in punitive damages from Defendants Baltimore County, Maryland, The State of

         :Maryland, the Office of the State's Attorney for Baltimore County, Detective Nicholas Wolferman

         and Detective Chad Sholter, jointly and severally, and for such other and further relief to which

         Plaintiff may be entitled.

         COUNT V -- PLAINTIFF'S § 1983 CLAIM FOR VIOLATION OF PLAINTIFF'S
         FOURTH AND FOURTEENTH AMENDMENT RIGHTS AND PRIVILEGES

75.   Plaintiff incorporates herein the aforementioned paragraphs as if fully stated herein.

76.   "The right of the people to be secure in their person's houses, papers, and effect, against unreasonable

      searches and seizures, shall not be violated and no warrants shall issue but upon probable cause.

      Supported by oath or affirmation and particularly describing the places to be searched and the persons

      or things to be seized." Amendment 4, Constitution of the United States.

77.   That as a result of the actions of the defendants acting under color oflaw, the plaintiff was deprived of

      various rights and privileges guaranteed to him by the United States Constitution and the laws of the

      land including, but not limited to, the Plaintiff's rights under the Fourth and Fourteenth Amendments

      of the U.S. Constitution as their actions constituted an illegal search and seizure, an illegal use of


                                                          15



                                                                                                  PAGE 9
                 Case 1:23-cv-01842-JKB Document 1-1 Filed 07/10/23 Page 10 of 13

                                                                                                EXHIBIT A
      The County of Baltimore failed to train, supervise, monitor, and fire Defendant Police Officers for their

      roles in previous instances of malfeasance.

82.   As a direct result of said Defendant County's and the Office of the State's Attorney for Baltimore

      County's failure to train, monitor, supervise, and/or discipline Defendant Officers, the named

      Defendant Officers, and line prosecutors from the Office of the State's Attorney for Baltimore County

      continued their pattern of illegal searches, seizures, arrests, fabrication of evidence and maliciously

      charging various individuals of criminal offenses they knew they could not prove beyond a reasonable

      doubt, including marijuana possession and related charges against Plaintiff Anderson.

83.   As a direct result of Defendant County's breach of its duty, the named Defendant Officers victimized

      Mr. Anderson on July 13, 2021 through 1/24/2023 and on, using similar tactics as those complained of

      by other Baltimore County residents. These acts included illegal stops, illegal traffic stops, illegal

      searches, seizures, illegal arrests, and false charges and fabrication of evidence as well as fabrication

      of credentials and affirmation and withholding of exculpatory evidence. These actions as well as the

      actions in the present case were the direct result of the Baltimore County Police Department and the

      Office of the State's Attorney for Baltimore County's failure to train, supervise, and discipline the said

      Defendant Officers and line prosecutors.

84.   Defendants were all aware or should have been aware that Defendant Officers and prosecutors within

      the Office of the State's Attorney for Baltimore County were complicit in an illegal custom/practice of

      the Baltimore County Police Department and State's Attorney's Office of Baltimore County.

85.   As a direct result of Defendants failures, the Baltimore County Police Department's custom of not

      screening new hires, training, monitoring, supervising, failing to fire Defendant Officers and/or failing

      to implement policies that prohibit the conduct complained of in this suit, despite having specific

      knowledge of previous instances of constitutional violations to other Baltimore County citizens, Mr.

      Anderson suffered Constitutional depravations which were foreseeable and would not have happened

                                                           17



                                                                                                  PAGE 10
              Case 1:23-cv-01842-JKB Document 1-1 Filed 07/10/23 Page 11 of 13

                                                                                            EXHIBIT A

that Defendants could establish the criminal charges of marijuana possession despite being advised in

writing that there was no evidence of such.

90.          Defendants knew their conduct would cause the distress suffered by Anderson and yet acted

with a reckless disregard for t11e distress they knew would follow from their extreme and outrageous

actions; including the continuing distress suffered by Anderson while in police custody through being

assaulted, starved removed from his family, removed from society, forced to work without pay, made

to suffer emotionally; then subsequently reenforcing this conduct in representing under oath before a

grand jury the fabricated evidence against Mr. Anderson.

91.          The emotional distress to Mr. Anderson was, and still is, severe. As a result of

Defendants' aforesaid conduct, Mr. Anderson suffered physical and/or non-physical injury,

sustained economic damages for the cost of medical/mental health care expenses and lost wages as

well as non-economic damages for the pain, suffering, fear, fright, humiliation, inconvenience,

embarrassment and severe emotional distress for the totality of events that he was forced to endure.

      WHEREFORE, Plaintiff Na'Im Anderson, claims in excess of seventy-five thousand dollars

      ($75,000.00) in compensatory damages and in excess of seventy-five thousand dollars

      ($75,000.00) in punitive damages from Defendants Baltimore County, Maryland, The State of

      Maryland, the Office of the State's Attorney for Baltimore County, Detective Nicholas Wolferman

      and Detective Chad Sholter, jointly and severally, and for such other and further relief to which

      Plaintiff may be entitled.

      Respectfully submitted,


                                                            a Francis-Williams, Esq., C
                                                              Law Office of Latoya A. Fr c -Williams
                                                           P.O. Box 451, Randallstown, Mary and 21133
                                                              410-356-4691 (office); 443-548-4588 (fax)
                                                                           latoya.f. williams@gmail.com
                                                                                     Attorney for Plaintiff
                                                      19


                                                                                                PAGE 11
                                                                  E-FILED; Baltimore County Circuit Court
          Case 1:23-cv-01842-JKB DocumentDocket:
                                          1-1 Filed   07/10/23 PM;
                                                 4J25/202312:35 Page  12 of 13 4/25/2023
                                                                   Submission:                  12:35 PM

                                                                                EXHIBIT A

NA'IM ANDERSON                                 IN THE CIRCUIT COURT
2413 Guilford Ave.
Baltimore, MD 21218                            OF MARYLAND

                 V.                            FOR BALTIMORE COUNTY

Baltimore County, Maryland                     CASE NO.: TBA
Serve on: John A Olszewski, Jr., County
Executive
400 Washington Ave, Mailstop 2M0IA
Towson, Maryland 21204
                                                          C-03-CV-23-001712
and
Office of the State's Attorney for Baltimore
County
Serve on: Scott D. Shellenberger, State's
Attorney
County Courts Building, Room 511
401 Bosley Ave., Towson, MD 21204

and
State of I\!Iaryland
80 Calvert Street, Room 109
Annapolis, Maryland 21401

and
Nicholas Wolferman
700 East Joppa Road
Towson, Maryland 21286

and
Chad A. Sholter
700 East Joppa Road
Towson, Maryland 21286




                                  DEMAND FOR JURY TRIAL

         Now comes Plaintiff, Na'Im Anderson, by and through counsel and hereby demands a
 jury trial in the above captioned matter.
 Dated this 25 th day of April, 2023.



                                               1


                                                                                  PAGE 12
                   Case 1:23-cv-01842-JKB Document 1-1 Filed 07/10/23 Page 13 of 13
                     CIRCUIT COURT OF MARYLAND FOR BALTIMORE COUNTY
                     40! Bosley Avenue, P.O. Box 6754                                                  EXHIBIT A
                     Towson, MD 21285-6754
                     Main: 410-887-260I


                                                                                       Case Number: C.03-CV-23-001712
                                                                                             Other Reference Number(s):

NA'IM ANDERSON VS. BALTIMORE COUNTY, MARYLAND, ET AL.


                                                  ORDER OF DEFAULT



The Court enters an Order of Default against _ _ _ _C_h_a_d_A_._S_h_o_l_te_r__________ for
failure to file a responsive pleading to:
                                            - - -Complaint
                                                 - - - - for
                                                           - -Damages
                                                               -Name
                                                                 --      --------------
                                                                     of complainVpclition/molion

and orders that testimony to support the allegations of the compliant to be taken before

181        oneofthejudgesor     D     magistrateofthecourt.   06/21/202312:03:57 PM




                                                                                                 Andrew M. Battista


    IMPORTANT: Person obtaining Order of Default must contact the Clerk's Office at
I              (410) 887-2660 Telephone
                                                                for further instructions to schedule a hearing.



                                                                 Entered: Clerk, Circuit Court for
                                                                 Baltimore County, MD
                                                                 June 21, 2023




    CC DR•054JO (Rev. 01/2020)
       0                                               Page 1 of 1                                       El/21/2023 10:03 AM


                                                                                                          PAGE 13
